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ATTACHMENT A

United States v.
Pedro Morales

Case No.: 13-cr-00245-WJM

 
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Principles of Drug Abuse
Treatment for Criminal

Justice Pp opulat ions | AResearch- Based Guide

 

 

 

 

 

 
 

 

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Tr eATmen Tfor

Prin ciPl es. of

Dr ug Abuse

 

 

cr iminAl Justice —°
PoPul ATions:

. L. Drug. addiction is a brain disease that affects:
behavior. Drug addiction:has well-recognized cognitive, behavioral,

and physiological chat acteristics itat contribute te continued use of.
drugs, déspite the harmful consequences. Scientists have'also found
thaL.chronic drug abuse alters the brain's anatomy and chemistry and
ihatthese changes can last for months or years after the individiial:
has stopped using drugs. This transformation-may help explainwhy
addicts are-at a high risk of relapse to drug abuse even after jong-
periods of abstinence, and why they persist if- rseeking drugs despite
deleterious consequences.

2. Recovery from. drug addiction requires.
effective treatment, followed. by management

of the:prableny over time. Drug addiction’ is a-serious prob-

jem that can be treated and managed throughout its course. Effective
drug abuse treativier! engages participants ina therapeutic process.
retains:them in treatment for an appropriate length of fime,.and:helps
themtearn to maintain abstinence over time. M Chttple episodes of

» treatment may be required. Outcomes for drug abusing offenders. |
~ Ihihe community can be Improved by monitoring drug use and by”

encouraging continued participation in treatment.

3 « Treatment must last long enough fo produce
stable behavioral chan pes. latreatment, the drug abuser
is taught to break old patterns of thinking and -behaving and .tojearn
new skills for avoiding drug use anc criminal behavior. Individuals with:

 

 

 
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PRINCIPLES.

severe drug problems and co-occurring disorders typically need-tonger
treaiment fe.g., aminimum of-3 months) and-more comprehensive ser-
vices; Early in treatment, the drug abuser bagifts:a therapeutic process
_of change. lA later stages, he or'she addresses other problems related
to drug abuse and learns how.to manage the problem:

4. . Assessment.is the Lisi step-in: treatment. Ahis-
tory of.drug or alcohol use-may suggest:the need to conduct.a compre-
hensive assessment to determine the nature and extent of an individ:
‘ual's drug problems; establish whether problems existin other areas
that may.affect.recovery, -arid ‘enable the formulation of an appropriate
treatment plan. Personality disorder sand other. mentalfealth prob:
jlems are prevalent in ‘offender populations; therefore, comprehensive
assessments:shouid include nmiental tiealth evaluations with treatment
planning for these problems:

5 . Tailoring servites to Ot the needs. of the
jodividualis an important parvofeffective drug
abuse treatment for criminal justice: populations.
ficividuals differ in terms.of age, gender, ethnicity andiculture, prob-
jem severity, recovery stage,and fevel of supervision needed, Individu-
als also respond differently to different treatment approaches anc
treatment providers. In general,.drug treatment should Bddressissues
__ of motivation, preblerisolving, skill-building for-resisting drug use and
. criminal behavior, the replacement of drug using and crimifsal-activi-
* ties with constructive nondrug using activities, improved problemsolv-
ing, and lessons for undérstanding the’ consequences of one's behaw-

jor, Treatinent interventions can facilitate the.development.of healthy”

interpersonai relationships and improve the participant's ability to
interact with family, peers; and-others in the community!

6 . Drug use during treatment should. be.carctully
nronitered. individuals trying-to recover from drug addiction may
experience avelapse, or return, to druguse.Triggers fordrig relapse:
are var led: comrmon-ones include mental stress and associations with.
peers and'social situations linked to dfug.use. An undetected relapse:

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can progress to serious drug abuse, but detected use can pres

ent opportunities for therapeutic intervention. Monitoring drug use:
through urinalysis or other objective methods, as part-of treatment ar,
criminal justice super vision, provides a basis for. assessily and provid:
ing feedback:6n the par ticipant’s treatment progress: Ibalse pre vides.
oppertunities lo intervena to change unconstructive behavior —deter-"
mining rewards ‘and sanctions to facilitate change; and modifying
treatment plans ‘according to'pr ogress:

OT, ‘Treatment should target factors that are

associated. with criminals belay ior..“CAminalthinking: is
a combination of-attitudes-anc beliefs that ‘suppor ta criminal Hfestyie
and criminal behavior. These can include feeling entitled te have things

‘one! 3 own way, feeling thal one’s ‘criminal behavior. is justiCed: failing:

io be responsible for one’s actions; and-consistently failing 10 antici-
pale or appreciate the consequences of one’s behavior. This pattern’of
thinking often contributes to druguse and:ctiminal behavior, ‘Treat
ment that provides speciCb cognitive skij{s training to help incividuais
recognize-errors in judgment-that léad to drug abuse and eriminal
behaviermay improve ouicomes. :

8 . Criminal justice supérvision should: in-car porate
treatment planning for drug abusiag offenders,
and treatment previders should be asvare. of cor:
rectional supervision requiremen (8. The coordination of
drug abuse treatment with correctional planning can encourage par-
ticipation in-drug abuse treatment and can help ireatment providers:
incorporate correctional -requirements.as treatment goals. Treatment
providers should collaborate with criminal justice staff.to evaluate
each individual's treatment plan and ensure that it meete correctional
supervision requirements as well-as that-person’s changing needs,
which may include housing .and childcare; medical, psychiatric, and:
social suppart services; and vocational and-employment assistance.
For offenders with drug abuse problems, planning should incorporate
the transition to community based:ireaiment.and links to appropri-
ate postrelease sorvices to jimprove the success of drug treatmant

 

 
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PRINCIPLES

and re-entry. Abstinence requirements may necessitate 4 rapid clinical
response, such as more counseliig, targeted intervention; or increased
rriedication, to pravent relapse,-Ongoing coordination between freatment
providers and courts or parcle and probation ofCears.is important in
addressing the complex needs of these re-entering individuals:

9 . Continuity of care is essential for drug
abusers re-entering (he community. Those who com-
plete prison-based trealment and continue with-treainent in the
carmmunity have the best outcomes. Continuing drug abuse treatment:
helps the recontly.reteased offendér-deal with problems that become
relavantonly at.re-eniry, such-as learning tofandle situations thal

_could lead to relapse; learning how.te five drug-free in the community, |

and developing a drug-free peer support network. Treatment in-prison-
or jail.can begih aprocess'of therapeutic change, resulting in reduced
drug use and-criminal. behavior postincarceration; Continuing drug
freaiment inthe community 1s essiential-to sustaining these gains.

| 0 . A balance-of rewards and sanctions
encourages prosocial behavior and treatment
participation. When providing correctional supervision of individ-
uals participating.in drug abuse treatment, itis Important to reinforce.
positive Behavior. Nonmanetary “social-reinforcers" such as recogni-
tion for- progress or sincere éffort can be effective, as‘can graduated
sanctions that are consistent, predictable, and clear responses to
noncompliant behavior. Génerally, less punitive resporises are used for
early anciess serious noncompliance, with increasingly severe sanc-
tions issuing from continued problem behavior, Rewards and sanctions
aremosl likely to have the desired effect when they are perceived as-
fair and when they swiftly follow the targeted behavior.

1. i . Offenders with co-occurring drug abuse and
mental health problems often require-an integrated

treatinentiapproach. High rates of mental health problems are: ~

found both in.offender. populations and in those with substance abuse

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problems. Drug abuse treatment-can sometimes address depression,
anxiety, and other mental-health problems, Pérsonality, cognitive, and
other. serious mental disorders canbe difCoult to treat and may disrupt
drug treatment. The presence of co-occurring disorders may require an
integrated appr cach that combines drug abuse treatment with psychiat-
rictreatment, including the use of.medication. Individuals with either a
substance abuse or mental healili problem shoultibe assessed far the
presence of the other. : :

‘| 2 . Medications:are.an inrportant parl of
treatment for many drug abusing offenders,

Metiicines such as methadone and buprenorphine for heroin addiction
have been stiown to help normalize brain function, and should.be made
available to Individuals who could bene! fram them, Effective use of
medications can-alsa be instrumental in enabling people wilh co-

occurring mental health problems to function successfully in society.
Behavioral ‘strategies can increase adherence to medication regimens

} 3 . Treatment planning for drug abusing
offenders who-are living in or re-entering the
community should include strategies to prevent
and (reat serious, chronic medical conditions,
such as H1V/ATDS, hepatitis Band €, and
tuberculosis, Me rates of inféctious diseases, such as hepatitis,
tuberculosis, and HIWAIDS, are higher in-drug abusers; incarcerated
offenders, and offenders under community supervision than in the
general population. Infectious diseases affect not just the offender,
but also the criminal-justice system and the wider community, Con-
sistent with Federal and-State laws, drug-involved offenders should
be offered testing for infectious diseases and recelve counseling

on their health status and on iow to modify risk behaviors. .Praba-
Hon and parole ofCcers who monitor offenders with serious medical
conditions should link them with appropriate healthcare services,
encourage.compliance with medical treatment, and re-establish their,
eligibility for public health services (e.g., Medicald; county health
departments) before retease trom prison or jail.

 

 

 
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confents °
Pr inciPl es of Dr ug Abuse Tr eATmenT 8, How long should drug abuse treatment last
for criminAl Justice PoPul ATions ..00..... 4 for individuals involved Ih the criminal justice system?....... 20
Pp OE ACE cocccccccceccccccccceterrsecrevensetevececsuyensescisetenees G 9 How can rewards and sanctions be used
effectively with drug-involved offenders in treatrmant?........ 24
ACK OW @DgM@N TS eccentric 4 19. What is the role of medications in
IN Tr GODUGTION oo. cccccceccacceter eee eee eee eereese nna eees 12 treating substance abusing offenders? 00. 22
freQuenTi YAsKeD Qu esTions (f AGs) voceeeees 45 41, How can the criminal justice and drug abuse
. . trealment systems reduce the spread of HIWAI BS,
1. Why do people involved in the criminal hepatitis, and other infectious diseases among
justice system continue abusing drugs? oss 15 drug abusing Offenders? eerste rrercetes 24
2. Why should drug abuse treatment 42. What works for offenders with co-occurring
be provided to Off eNUEES 2... eure eerittenne eset tcre ste reee tetas 16 substance abuse and mental disorders? occas 28
3. How effective is druig abuse treatment 1. Is providing crug abuse treatment to
for criminal justice-involved IndiViduaia? oo... eres 16 offenders worth the Chancial investMent? cues 25
4. Are all drug abusers in the criminal justice 14. What are unique treatment needs for
system good candidates for treatment? oer eee i7 women in the criminal Justice system? 0. 26
5. }s iegally mandated treatment effective? . 18 15. What are the unique treatment needs of
6, Are relapse risk factors different in juvenifes in the criminal justice system ? ee 27
offender papulations? How should drug P GSOUL COS ciiccscccceccccecceeeee errr teeieeeeeteennnettiees 29
abuse treatment deal with these risk factors? oe 18
POF OP SN CES cece ee ere eeeen eee stetterne teeters 32

7. What treatment and other health
services should be provided to drug abusers
involved wilh the criminal justice system? een 18
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Since it was established in
1974, the National Institute
on Drug Abuse (NIDA) has
supported research on drug
abuse treatment for individ-
uals who are involved with
the criminal justice system.

This guide is intended to describe the treatment principfes and
research Cndings that are of particular relevance fo the criminal
justice community and to treatment professionals working with
drug abusing offenders. The guide is divided into three main sec-
Hons: (1) the Ost distills research Cndings on the addicted offender
into 13 essential principles; (2) the second contains a series of
frequently asked questions (FAQs) about drug abuse treatment for
those involved with the criminal justice system; and (8) the third is a
resource section that provides Web sites for additional information.
A summary of the research underlying both ihe principles and the
FAQs is available on NIDA's Web site at www.drugabuse.gov.

 

 
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PREFACE

Research on drug abuse and addiction runs the gamut from basic
science fo applied studies. We now understand the basic neurobioi-
ogy of many eecdictions, along with what constitutes more effective
treatment processes and interventions to help individuals pregress
through the stages of recovery. increased understanding of the neu-
rological, phystofogical, psychological, and social change processes
involved wil] help us develop interventions to imprave therapeutic
engagement, stabilization of recovery, motivation for change, pre-
vention of relapse, and long-term monitoring of the substance use
problem over jis course.

Scientids investigations spanning nearly four decades show that
drug abuse treatment Is an effective intervention for many substance
abusing offenders. Because the goais of drug abuse treatment—to
help people change their attitudes, bellefs, and behavior s—also
apply to refor ming criminal behavior, successful treatment can help
reduce crime as well, Legal pressure can be inporiant in getting a
person Inte treatment and in improving retention. Once in a program,
even those who are not initially motivated to change can eventually
become engaged in a continuing therapeutic process. Through this
process of change, the individual learns how to avoid relapse and to
successfully disengage from a fife of substance abuse and crime.

This booklet will pravide a complement to NIDA Principles of
Drug Addiction Treatment, A Research Based Guide, which was
prepared to assist those dealing with drug addiction both In and out
of the criminal justice system. It relies primarily on drug abuse treat-
ment research supported by NIDA, and focuses largely on individuals
for whom drug addiction ts a debtlitating disease.

Nora D. Volkow, M.D,
Director
National Institute on Drug Abuse

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in fr oDuctlion

The connection between
drug abuse and crime is
well known.

Crug abuse is implicated in at least three types of drug-related
offenses: (1) offenses deCued by drug possession or sales, (2)
offenses directly related to drug abuse (e.g., stealing to get money
for drugs), and (3) offenses related to a lifestyle that predisposes the
drug abuser te engage in illegal activity, for example, through asso-
clation with other offenders or with lilicit markets. individuals who
use illicit drugs are more likely to commit crimes, and it is common
for many offenses, including violent crimes, to be cornmitted by indi-
viduals who had used drugs or alcohol prior to committing the crime,
or who were using at the time of the offense,

in 2003, nearly 6.9 million adults were involved with the criminal
justice system, Including 4.8 million whe were under probation or
parole supervision (Glaze & Palla, 2004}. in its 1997 survey, the
Bureau of Justice Statistics (BUS) estimated that about 70 percent
of State ancl 57 percent of Federal prisoners used drugs regularly
prior te incarceration (Mumata, 1990). A 2002 survey of jails found
that 52 percen( of incarcerated women and 44 percent of meh meat

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the criteria for alcohol or drug dependence (Karberg & Jamies, 2005).
Juvenile justice systems also report high fevels of drug abuse. A
survey of juvenile detainees in 2000 found that about 56 percent of
the boys and 40 percent of the girs tested positive for drug use al the
time of thelr arrest (National Institute of Justice, 2003).

The substance abusing offender may be encouraged or legally
pressured to participate in drug abuse treatment. Even so, few drug
abusing offenders actually receive treatment.
The 1997 BUS survey showed that fewer
than 15 percent of incarcerated offend-
ers with drug problerns had received
treatment’ in prison. Nearly 36 percent
of adult probationers whe regularly
abused drugs prior to incarceration
sald they had received treatment during
their current sentencas; only +7 percent
said they were currently ina drug treatment
program, Untreated substance abusing offenders are more likely to
relapse to drug abuse and return to criminal behavior This can bring
about re- arrest and re-incarceration, jeopardizing public health and
public safety and taxing criminal justice system resources. Treatment
offers the best alternative for interrupting the drug abuse/criminat
justice cycle for offenders with drug abuse problems.

Drug #buse treatment can be incorporated into criminal justice
settings in a variety of ways. These include treatment as a condition
of probation, drug courts that blend judicial monitoring and sanctions
with treatment, treatment in prison followed by community based
treatment after discharge, and treatment under parole or praba-
tion supervision. Drug abuse treatment can beneCt from the cross-
agency ceordination and collaboration of criminal justice profession-
als, substance abuse treatment providers, and other social service
agencies. By working together, the criminal justice and treatment
systems can optimize resources to penett the health, safety, and
wetl-being of individuals and the communities they serve.

  

 

1. Excludes participation in self-help (e.g., Alcoholics Anonymous) or drug
education. allernatives thal are often provided in addition to or in lieu of treatment.

 
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QuesTions (FAG8) 26

| >» Why do people involved in the criminal
justice system continue abusing drugs?

The answer to this perplexing questian spans basic neurobialogical,
psychological, social, and environmental factors,

The repeated use of addictive drugs eventually changes how the
brain functions. Resulting brain changes, which accompany the transi-
tion from voluntary to compulsive drug use, affect the brain’s natural
inhibition and reward centers, causing the addict to use drugs in spite
of the adverse health, social, and legal consequences. Craving for
drugs may be triggered by contact with the people, places, and things
associated with prior drug use, as well as by stress. Forced abstinence
without treat-
ment does not
cure addiction.
Abstinent indi-
viduals must still
learn Row to avoid
relapse, including
those who have
been incarcer-
ated and may have
been abstinent for
a tong period of
time. SO age IS -

Potential risk factors for released offenders inciude pressures from
peers and even family members to return to drug use and a criminal
lifestyle. Tensions of daily life-—violent associates, few oppartuni-
ties for legitimate employment, jack of safe housing, even the need

Addictive Drugs Cause
Long-lasting Changes in the Brain?

 

 

 

 

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Cocaine Abuser  Cagaine Abuser
{10 days of (100 days of
abstinence} abstinence}

Saurse. Voll

   

 

2, PET scans showing glucase metabolism in healthy brain and cocaine-addicted
prains, Even after 160 days of abetinenes. glucose metabolism has not returned to
normal leveis.

 

 

 

 

 
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FREQUENTLY ASKED QUESTIONS

to comply with correctional supervision canditlons-—can also create
stressful situations that can precipitate a relapse to drug use.

Research on how the brain is affected by drug abuse promises to
help us learn much more about the mechanics of drug-induced brain
changes and their relationship to addiction. Research also reveals that
with effective drug abuse treatment, individuals can overcome persis-
tent drug effects and lead healthy, productive lives,

2 « Why should drug abuse treatment
be provided to offenders?

The case for treating drug abusing offenders is compelling. Drug
abuse treatment improves outcomes for drug abusing offenders and
has benetrlal effects for public health and safety. Effective treatment
decreases future drug use and drug-related criminal behavior, can
improve the Indhidual's relationships with his or her family, and may
improve prospects for employment.

Guicomes for substance abusing individuals can be inproved when
criminal justice personnel work in tandem with treatment provid-
ers on drug abuse treatment needs and supervision requirements,
Treatment needs that can be assessed after arrest include substance
abuse severity, mental health problems, and physical health. Defense
attorneys, prosecutors, and judges need to work together during the
prosecution and sentencing phases of the criminal justice process
to determine suitable treatment programs that meet the offender's
needs. Through drug courts, diversion programs, pretrial release pro-
grams conditional on treatment, and conditional probation with sanc-
tions, the offender can participate in communily- based drug abuse
treatment while under criminal justice supervision. in some instances,
the judge may recommend that the offender participate in treatment
while serving jail or prison time or require it as part of continuing cor-
rectional supervision postrelease.

3 . How effective is drug abuse trealment
for criminal justice-involved individuals?

Treatment is an effective intervention for drug abusers, including
those who are involved with the criminal justice system. However, the

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effectiveness of drug treatment depends on both the individual and
the program, and on whether interventions and treatment services are
available and appropriate for the individual's needs, To amend atti-
tudes, beliefs, and behaviors that suppart drug use, the drug abuser
must engage Ina therapeutic change process. Longitudinal outcome
studies Qnd that those who participate in community based drug
abuse treatment programs commit fewer crimes than those who do
not participate,

4 - Are all drug abusers in the criminal justice
system good candidates for treatment?

Ahisiory of drug use does not in itself indicate ihe need for drug
abuse treatment. Offenders who meet drug dependence criteria
should be given higher priority for treatment than thase who do not.
Legs intensive interventions, such as drug abuse education or self-
help participation, may be appropriate for thase not meeting criteria
for drug dependence. Services such as farnily- based interventions
for juveniles, psychiatric treatment, ar cognitive- behavioral "criminal
thinking” interventions may be a higher priority for some offencers,
and individuals with montal health
problems may require specialized
services (see FAQ Nos. 6 and 12).

Low motivation to participate in
treatment or to end drug abuse
should nol preclude access to
treatment if other criteria are
met. Motivational enhancement
interventions may be useful in these
cases. Examples tnclude motivational
inter viewing and contingency management techniques, which often
provide tangible rewards in exchange for meeting program goats.
Lagal pressure that encourages abstinence and treatment participa-
tion may aiso help these individuals by improving ¢etention and cata-
lyzing longer treatment stays.

Drug abuse treatment is also affective for offenders who have a his-
tory of serious and violent crime, particularly if they receive intensive,
targeted services. The econemis benects in avoided crime and costs

  

 

 

 
   

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PREQUENTLY ASKED QUESTIONS

to crime victims fe.g., medical costs, lost earnings, and loss in quality
of life) may be substantial for these high-risk offenders. Treating them
requires a high degree of coordination between drug abuse treatment
praviders and criminal justice personnel to ensure thal treatment and
cfiminogenic needs are appropriately addressed.

5 - is legally mandated treatment effective?

Often the criminal fustice system can apply tegal pressure to
encourage offenders ta participate in drug abuse treaiment; or treat-
ment can be mandated, for example, through a drug court or as a

condition of pretrial release, probation, or parole.
Alarge percentage of those admitted to drug
abuse treatment cite legal pressure as an
important reason for seeking treatment.
Most studies suggest that outcomes for
those who are legally pressured to enter
treatment are as good as or better than
outcomes for those whe entered treatment
without legal pressure. Those under legal
pressure also tend to have higher attendance
rates and to remain in treatment for longer periods, which can also
nave a positive impact on ireatment outcomes.

6 » Are relapse risk factors different in
offender populations? flow should drug abuse
treatment deal with these risk factors?

Often, drug abusing offenders have problems in other areas. Exam-
ples include family difCoulties, jimited secial skills, educational and
employment problems, mental health disorders, infectious diseases,
and other medical problems. Trealment should take these problems
Into account, because they can increase the risk of drug relapse and
criminal recidivism if left unaddressed.

Stress Is aften @ contributing factor to relapse, and offenders who
are re-entering sociely face many challenges and stressers, includ-
ing reuniting with family members, securing housing, and complying
with criminal justice supervision requirements. Ever the many daily

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decisions that most people face can be stressful for those recently
released from a highly contratled prison environment.

Cther threats to recovery include a loss of support from familly
or friends, which incarcerated people may experience. Drug abus-
ers returning to the community may also encounter family, friends,
or associates stil Involved in drugs or
crime and be enticed to resume a
criminal and drug using tfestyle.
Returning to environments or
activities associated with prior
drug use may trigger strong
cravings and cause a relapse, A
coordinated approach by treatment
and criminal justice staff provides
the best way to detect and intervene
with these and other threats to recovery. in any case, treatment is
needed to provide the skills necessary to avoid or cope with situations
that cauid lead to relapse.

Treatment staff should identify the offender’s unique relapse risk
factors and periodically re-assess and modify the treatment plan as
needed, Generally, continuing or re-emerging drug use during treat-
ment requires 4 clinical response—either increasing the "dosage" or
level of treatment, or changing the treatment intervention.

  

7 +» What treatment and other health
services should be provided to drug abusers
involved with the criminal justice system?

One of the goats of treatment planning is to match evidence-based
interventions to individual needs at each stage of drug treatment. Over
time, various cambinations of treatment services may be required.
Evidence-based interventions include cognitive-behavioral therapy to
hetp participants learn positive sacial and coping skills, contingency
management approaches to reinforce positive behavioral change, and
motivational enhancement {c increase treatment engagement and
retention. in those addicted to opiaid drugs, agonist medications can
also help normalize brain function, and antagonist medicatians can
facilitate abstinence, For juvenile offenders, treatments that Involve

 
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FREQUENTLY ASKED QUESTIONS

ihe family and other aspects of the drug abuser’s environment have
established efCracy.

Drug abuse Lreatrnent plans for incarcerated offenders can antici-
pate their eventual re-eniry into the community by incorporating
relevant transition plans and services, Drug abusers often have menial
and physical health, family counseling, parenting, educational, anc
vocational neetis, so medical, psychological, anc social services are
often crucial components of successful treatment. Case management
approaches can be used to provide assistance in obtaining drug abuse
treatrnent and community services,

8 - How long should drug abuse
lreatment last for individuals invelved
in the criminal justice system?

While individuals progress through drug abuse treatment at
different rates, one of the most reliable Ondings In treatment
research is that lasting reductions in criminal activity and drug abuse
are related lo length of treatment. Generally, better outcomes are
associated with treatment that lasts longer than 90 days, with the
greatest reductions in drug abuse and criminal behavior accruing to
those who complete treatment, Again, legal pressure can improve
retention rates,

A longer continuum of treatment may be Indicated for individuals
with severe or multiple problems. Research has shown that participa-
don in a prison-based therapeutic communily followed by commu-
nity- based treatment after release can reduce the risk of recidivism te
criminal behavior as well as relapse to drug use,

Early phases of treatment help the participant stop using drugs and
begin a therapeutic process of change. Later stages address other
problems related to drug abuse and, importantly, help the individual
jearn how to self- manage the drug problem,

Because addiction is a chronic disease, drug relapse and return to
{reaiment are common features of an individual's path to recovery, so
treatment may need to extend over along period of time and across
multiple episedes of care. {t is also the case that those with the most
severe problems can participate in treatment and achieve pasitive
outcomes,

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Year 1 Years 2-3 Years 4-5

Years After Work Release

9 » How can xvewards and sanctions
be used effectively with drug-
invelved offenders in treatment?

The systematic application of behavioral management principles
underlying reward and punishment can help individuals reduce their
drug use and criminal behavior. Rewards and sanctions are most likely
to change behavicr when they are certain to follow the targeted behav-
ior, when they follow swiftly, and when they are perceived as fair.

It is important to recognize and reinforce progress toward respon-
sible, abstinent behavior. Rewarding positive behavior is more offec-
tive in producing long-term positive change than punishing negative
behavior. Nenmonetary rewards such as social recognition can be as
effective as monetary rewards, A graduated range of rewards given
for meeting predetermined goals can be an effective strategy when
used in conjunction with behavioral management approaches such
as contingency management. In community-based treatment, con-
tingency management strategies may use voucher-based incentives
ar rewards, such as bus tokens, to reinforce abstinence (ineasured

 
   

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by negative drug tests) or to shape progress toward other treatment
goals, such as program session attendance or compliance with madi-
cation regimens. Contingency management is most effective when the
centingent reward closely follows the behavior being
monitored,
Gracduaied sanctions, which invoke less
punitive responses for early and less
serious noncompliance and increasingly
severe sanctions for more serious or
cominuing problems, can be an effec-
tive tool In conjunction with drug testing.
The effective use of graduated sanctions
invelves consistent, predictable, and claar
responses to noncompliant behavior,

Orug testing can determine when an individual is having difCoul-
ties with recovery. The Crst response to drug use detected through
urinalysis should be clinical—for example, an Increase jn treatment
intensity or a change to an alternative treatment. This oflen requires
coordination between the criminal justice staff and the treatment pro-
vider, (Note that more intensive treatment should not be considered a
sanction, but rather 4 routine progression in healthcare practice when
a treatment appears tess effective than expected.)

Behavioral contracting can employ both rewards and sanctions, A
behavioral contract is an explicit agreement between the participant
and the treatment provider or criminat justice monitor (or all three}
that speciQes proscribed behaviers and associated sanctions, as well
as positive goals and rewards for success. Behavioral contracting can
instill a sense of procedural justice because both the necessary steps
toward progress and the sanctions for violating the contract are speci-
Qed and understaod in advance.

1 0 » What is the role of medications in
treating substance abusing offenders?

Medications can be an important component of effective drug abuse
treatment for offenders. By allowing the body to function normally,
they enable the addict lo leave behind a fife of crime and drug abuse.
Oplate agonist medications, which work by replacing neurotransmit-

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ters in brain celts (hat have become altered or desensitized as a result
of drug abuse, tend to be well tolerated and can help an individuat
remain in treatment. Antagonist medications, which work by blocking
the effects of a drug, are effective but often are not taken as pre-
scribed, Despite evidence of their effectiveness, addiction medications
are underutifized in the treatment of drug abusers within the criminal
justice system, Stl, some jurisdictions have found ways to success-
fully implement medication therapy for drug abusing offenders,
Effective medications have been developed for oplates/herain and
alcohol:
+ Cpiates/Heroin. Long-term opiate abuse results in a desensitt
zation of the brain’s opiate receptors to enderphins, the body's
natural opioids. /yefhadone replaces these natural endorphins,
stabilizing the craving that otherwise resuits in compulsive use of
heroin or other illicit opiates, Methadone is
effective in reducing opiate use, drug-
related criminal behavior, and HiVrisk
behavior, Buprenorahine is a partial
agonist and acts on the same recep-
tors as morphine (a full agonist), but
without producing the same high, level
of dependence, or withdrawal symp-
toms. Suboxone is a unique formulation
of buprenorphine that contains naloxyore, an
opioid antagonist, which limits diversion by causing severe with-
drawai symptoms in these who inject if te get “high,” but has no
adverse effects when taken orally. Naltrexone, an opiate antagonist,
blocks the effects of opiates.
Alcohol. DisyiCran; (also known as Antabuse) is an aversion therapy
that induces nausea if alcohol is consumed. Acamprosate works by
restoring nermal balance to the brain's glutamate neurotransmitter
system, helping to reduce alcohol craving. Naltrexone, which blocks
some of alcohol’s pleasurable effects, is also FDA-approved for
treatment of alcohol abuse.

  

 
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] l . Llow can the criminal justice and drug
abuse treatment systems reduce the spread
of HIV/AIDS, hepatitis, and other infectious
diseases among drug abusing offenders?

it is critical for the criminal justice and drug abuse treatment sys-
tems to be involved tn efforts to reduce the spread of HIWAIDS and
other infectious diseases, which occur at higher rates among drug
abusers in the criminal justice system than ameng the general popu-
lation. The prevalence of AIDS has been estimated to be approximately
¢ve times higher among incarcerated offenders than the general
poputation, and rates of HiVare also higher than in the general popu-
tation, In addition, individuals in the criminal justice system represent
qa signiCcant portion of hepatitis B, hepatitis C, and tuberculosis cases
in the United States. Although most infectious diseases are contracted
in the community and not in correctional settings, (hey must be treated
in the correctional setting once diagnosed,

Infectious diseases among offenders who are re-entering or living
within the community present a serious public health challenge. While
incarcerated, offenders often have access to adequate healthcare,

which offers opportunities for Integrating
strategies to address medical, mental
health, and drug abuse problems,
Offenders with infectious diseases
who are returning to their com-
munities should De linked! with
comraunity- based medical care
prior to release, Community health,
drug treatment, and criminal justice

agencies should work together to offer

aducation, screening, counseling, prevention, and treatment programs
for HIWAIDS, hepatitis, and olher infectious diseases to offenders in or
returning to the community, Drug abuse treaiment can decrease the
spread of infectious disease dy reducing high-risk behaviors such as
needle sharing and unprotected sex.

The need to negotiate access to health Services and adhere to
complex treatment protecals places alarge burden on the addicted

  
  
 
 
 

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offender, and many offenders fall through the cracks. Untreated or
deteriorating medical or mental health problems increase the risk of
relapse to drug abuse and to possible re- arrest and re-incarcer ation,

| 2 . Whatworks for offenders with co-occurring
substance abuse and mental disorders?

It is important to adequately assess mental disorders and to address
them a part of effective drug abuse treatment. Many types of co-
occurring mental health problerns can he successfully addressed
in standard drug abuse treatment programs. However, individuals
with serious mental disorders may require an integrated treatrnent
approach cesigned for treating patients with co-occurring mental
health problems and substance use disorders. Although nat readily
available, speciatized therapeutic community “ MICA’ (for “mentally HE
chemical abuser"} programs are promising for patients with cc-ocour-
ring mental and addictive problems,

Must progress has been made in develaping effective medications
for treating mental disorders, including a number of antidepressants,
mood stabilizers, and antipsychotics. These medications may be criti-
cal for treatment success with offenders who have co-occurring men-
tal disorders such as depression, anxiety disorder, bipolar disorder, or
psychosis, Coghitive- behavioral therapy can be effective for treating
mental health problems, particularly when combined with medica-
tions. Cantingency management can improve adherence to prescribed
medications, anc Intensive case management may be useful for link-
ing severely mentally ill individuals with drug abuse treatment, mental
health care, and community services,

l 3 . is providing drug abuse lrealment to
offenders worth the Gnancial investment?

In 2002, it was estimated that the cost to society of drug abuse was
$180.9 bilion (OfCce of National Drug Control Poticy, 2004), a substan-
tial portion of which—$107.8 billion—is associated with drug-rel ated
crime, including criminal! justice system costs and costs borne hy
victims of crime. The cost of treating drug abuse (including research,

 

 

 

 
 
  
 

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training, and prevention efforts) was estimated to be $15.8 billlon, a
fraction of {hese overall societal costs.
Drug abuse treatment is cost effective in reducing drug use and
bringing about associated healthcare, crime, and Incarceration cost
savings. Positive net economic beneCis are
consistently found for drug abuse treatment
across varlous settings and populations. The
largest economic benaCt of treatment is
seen in avoided costs of crime (incarcera-
tion and victimization costs}, wrth greater
econoniic beneCts resulting from treating
offenders with co-occurring mental health
problems and substance use disorders. Resi-
dential prison treatment Is more cost effective
if offenders attend treatment postrelease, according to research, Drug
courts also convey positive economic beneCts, including participant-
earned wages and avolded incarceration and future crime costs.

] 4 . What are unique treatment needs for
women in the criminal justice system?

Although women are incarcerated at far lower rates than men, the
numbet and percentage of incarcerated women have grown substan-
tially in recent years, Between 1986 and 1995, the number of men in
prisons and jaifs doubled, while the number of incarcerated women
tripled, Women in prison are likely to have a different set of preblems
and needs than men, Surveys indicate thai female offenders used
more drugs more frequently prior fo incarceration than males, and
a higher percentage of females (54 percent compared to 50 percent)
had used drugs in the month before committing their offense. In
addition to being more likely to have a substance abuse problem,
approximately 50 percent of femate offenders are likely to have his-
tories of physical or sexual abuse, Women are also more likely than
men to be victims of domestic violence. Past or current victimization
can contribute to drug or alcohol abuse, depression, post-traumatic
stress disorder, and criminal activity. Female offenders are also
more Hkely ta have mental illnesses, employment problems, and
childrearing responsibilities,

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Substance abuse, menial health, and health problems
and treatment in a sample of incarcerated women a-on

Note: Graph shows lifetime porcantages except for multiple drugs, alcahal, and
cocalng, which are the percent reporting use in the 30 days prior te incarceration.

Jay drug erobien
Mutants drugs:
Alcohal

Cecaing

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Depressign
Angiaty

Dental

Reproductive health
Traumalinjuey
Cardiovascular
SDs

L. 204,

Substance abirse Tk
Mental hawlth Tx
Poychotraple medications

 

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Trealment programs serving beth men ancl women can provide
affective treatment for their female clients. However, gender-specits
programs may be more effective for female offenders, particularly those
with historfes of trauma and abuse. Female offenders are more likely
to need medical and mental health services, childcare services, and
assistance in Ciding hausing and employment. Foliowing 4 comprehen-
sive assessment, wornen with mental health diserders should recelve
appropriale treatment and case management, including victim services
as needed. For female offanders with children, parental responsibilities
can contict with their ability to participate in drug treatment. Regain-
ing or retaining custody of their children can also motivate mothers to
participate in treatment. Treatment programs may improve retention by
offering childcare services and parenting classes.

| 5 -« What are the unique treatment needs
of juveniles in the criminal justice system?

In recent years, there has been a dramatic increase in the number
of juveniies with substance abuse problems involved in the criminal
and juveniie justice systems. From 1986 to 1996, drug-related Juvenile

 
  
   

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incarcer ations increased nearly threefold. In 2002, about 60 percent of
detained boys and nearly half of the girls tested positive for drug use.
The number of juvenile court cases involving drug offenses more than
doubled between 1993 and 1998, and 116,781 adolescents uncler the
age of 18 were arrested for drug violations in 2002. One study found
that about one-half of both male and femate juvenile detainees met
criteria for a substance use disorder (Tepiin et af., 2002),

Juveniles entering the criminal justice system can bring a number of

serious issues with thern—substance abuse, academic failure, emo-
tional disturbances, physical heaith issues,
family problems, and a history of physi-
cal or sexual abuse. Girls comprise
nearly one-third of juvenile arrests,

a high percentage reporting some

form of emotional, physical, or sexual

abuse. Effectively addressing these

issues requires their gaining access to
comprehensive assessment, treatment,
case management, and support services

appropriate for the age and developmental

stage. Assessment is particularly important, because nat al! adoies-
cents who have used drugs need treatment. For thase whe do, there
are several points in the juvenile justice continuum where treatment
has been integraled, including juvenile drug courts, community-based
supervision, juveniie detention, and community re-entry.

Families play an important role in the recovery of substance abusing
juveniles, but this inCuence can be either positive or negative. Parental
substance abuse or criminal invelverment, physical or sexual abuse by
family members, and fack of parental involvement or supervision are
all risk factors for adolescent substance abuse and delinquent behav-
ior, Thus, the effective treatment of juvenile substance abusers offen
requires a family-based treatment model that targets family func-
tioning and the increased involvement of family members. Effective
adolescent treatment approaches include Multisystemic Therapy, Mul
tidimenstonal Family Therapy, and Functional Family Therapy. Tnese
interventions show promise in strengthening families and decreasing
juvenile substance abuse and delinquent behavior.

resources ->

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Many resources are
available on the Internet,

The follow ing are

useful links:

General Information

NIDA Wab site: www.drugabuse.gov

Inquiries about NIDA‘s research on drug abuse treatment and the
criminal justice system: Division of Epidemiology, Services and

Prevention Research (301) 443-6504

General Inquires: NIDA Public information Gite (801) 443-1124

Federal Rescurces

 

National institule of Mental Health (NiMH}

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National institute on Alcohol Abuse
and Alcoholism (NIAAA)

ww. oiaad. nib. goy

 

National institute of Justice (N1J}

wyew.ojp.usdoj. gow nil

 

The CfCre of juvenile Justice and
Delinquency Prevention (OMDP)

www. ofjdp.nejrs.org

 

National Jastitule of Corrections (MIC}

WHEW THCIC. CFG

 

Federal Bureau of Prisons
Substance Abuse Treatment

National Criminal Justice Reference Service

www. bop.gawinmate_
programs/substance. [sp

www. nejrs. gov

 

Bureau of Justice Assistance Residential
Substance Abuse Tresiment {(RSAT}

wwi.olp.usde).gouBlAs
evaluation/psi_rsat

 
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RESOURCES

Other Resources

Drug Strategies

wow. dr ugsirategies,org

 

Re-Entry Policy Counce

www, reantryselicyore

 

University of Washington
Alcohol anc Drug Abuse Insutute

wane. adai washington,
adusvinstruments

 

American Society of Addiction Medicine

TASS (reatment Accountability
for Safer Communities)

WWW, SGT OF

www nabonal tas, org

 

National Drug Court institute

Statistics

www.ndci.org

 

Bureau of Justice Statistics (BJS)
Statistics on Drugs and Crime

wi.ojp.lisdoj.qauw
fjsidrugs. him

 

ofcee of Applied Studies, Suéstance Abuse and
Meniat Health Services Administration (SAMHSA)

wyw.nas.samhsa.goy

 

Research Centers and Program

uw

 

NIDA Criminal Justice Drug Abuse
Treatment Studies (C/-DATS}

www.cidats.org

 

institute of Sehavioral Research at Texas
Christian University (IBR-TCU)

wenwibricu.edu

 

UCLA lategrated Subsiance

warw.ucl disap. arg

 

Afuse Programs GSAP}

Uriversity of Delaware
Center for Drag and Alcohol Studies (CDAS)

University of Maryland
Bureau of Governmental Research

whnw.udel edufcdas

www. bgr.uimd.edu

 

University of New Mexico Center on Atcoholism,
Substance Abuse, and Addictions

itp://easaa.unm.edu

 

Rutgers University Center for viental Health
Services & Criminal Justice Research

www.conhs-cirrulgers.edu

 

Urban institute

www, urban.org

 

The National Center of Addiction and
Substance Abuse at Cofumbia University

www.casacolumbia.org

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Screening and Assessment—Adults

 

institute of Behavioral Research, Texas Christian
Univer sity (TCU) Assessment Instr uments

Researchers in the Institute of Behavioral Research at TCU have
developed a number of useful instruments to screen Individuals far
drug use, to identify problem areas and determine client service
needs, and to track progress through treatment.

There are algo tools to measure the program's need for training
and to help program direciors and staff improve the quality of treat-
roent. These measurement tools, which are listed betow, can be found
through the VWeb site listed below, at right.

 

TCU Drug Screen tf {FCUDS}
(Available in English and Spanish}

 

TCU Survey of Pragran Training Needs
(PTN-§ and PTN-D for Criminal Justice)

 

TCU Survey of Crganizational Funclioning

TCU-C)-CEG! {Client Evatuation of Self at
Intake) Pretreatment Survey of Correctional
Populations (Available in English and Spanish)

 

ww. tbr tou. edwresources/
rc-corravalirt. htm!

 

CJ. CEST Survey of Correctional Populations
{Gient Evaluation of Self ancl Treatment}
{Available in English and Spanish}

Criminal Thinking Scales (CTS)

Chestnut Flealth Systems Gobal
Appraisal of Individual Needs {GAIN}

 

 

www. chestnut org/Ll/gain

Treatment Research instilute - The

Addiction Severity index (AS!) ww. tresearch.orgfasi. hun

 

 

Screening and Assessment—Adolescents

 

wenw.drugstrategies. orgf

Overview of scracning and assessment tocis sat
feens/screening. html

 

Economic Resources

 

Drug Abuse Treatment Cast

Analysis Program (DATCAP) warw.datcap cam

 
 

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(pp. 135-135}, Washington, DC: U.S, Department of Justice, OfCre af Justice
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190, 1982,

 

  
 

» Volkow. NLD; Fowler, JS: Wang, GJ.: Hitzemann, R.; Logan, J; Schtyer, 0.) Dewey,
S; and Wbif, AP Decreased dopamine 02 receptor availabifity is associated with
reduced frontal metabelism in cocaine abusers. Synapse 14169-4177, 1983.

_ For More:Information

. -Formore inforf ation about.other research-based
‘publications on -drid-abuse and addiction, visit NIDA's Web site
al www-drugabuse, gov, or cali-the-National-Clearinghouse
for, Alcohol .and-Drugdnformation al 1-800-729-6686.

 

 

    

 

   

 
